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lnvestor :_oan #_

HON|E AFFORlltil-.BLZZ =".llOljllF CA`i`t-fii?vl AGF£=EE\»' Ei’“v-‘
(Step Tw‘o of i`Wo~iStep Doc amentation F"'ot: asst

narrower i“i"};2 eustAouio izQUiERoo

l_ender ot Serv~ce' (" ender"}i Select Portfoltc:i :`:`~ei"vii‘:§ng, lr :.i

[late of first lien ntort“age, deed or'trus; or se<_:,n"ity !'!i;)ed tf"|t thgaz '-. )and tc f'rte’i_ F` emery 1‘§" 2{`.»05
Loan Number.

Property Address [and Legai` Descri'pti`on if recr_)rdai `oi~ is nec e.ssaryi §"‘Property ` l;

6801 SW 14 ST
NllAN|l.. FF_ 33'144

lt my representations in Section ” continue to de true 1 all niaterial rez:Jects` ther -'lzis t-tome ‘Attordaole
l\/iodification A§;reemenl ("Agreernent”) Will, as set ios-_h in St:ction 3 amend and supplement lt} the l\.llortgage on
the Property, and (2`) t‘-"ie l\iote secured by the tvlortz;|age. Thi: l\/lod:_iage and N=:\te together ads they may previously

mile been am@n.;i@d` are i-E§e;;ed §§ 35 the "t,;gn D-J»;umen's.“ C 'pita|izett ter"ns used in lt s F\greement and not
defined have the meaning given to them in t-c-an D.r_\c:ornents

l understand that after l sign and return two copies of this ’~\gree:'nent to the i_ender, the l ender will send me a

signed copy of this eigreement. This #-igreerrent vvil! not tal< z ettetlp unless the preconditions set forth in Section 2
have been satisfied

t My Representations and Covenant:s. l certify repl esent ",o Lendarl covenant and agree

‘-`\, | am experiencing a financial harcship and as ry resu . li) l al "i ir default unde' the t_oan Documents
or default is i:'nminent, and i`ii) l do not have st ticien tcome or access to sirl'icierit liquid assets to
make the monthly mortgage payments rc»vv or in the nez- ar futurel

‘_`-B_ One -‘)r' the borrowers signing this Agi'eernenl l`i ies it t*"ie Pri; nev i as a prini: al residence and the
Prnperty nas not been condemnet;‘

‘u.»_ Ti“er=: has been no impermiss-:t)e charge in tt‘ 2 c-vn s"ship ti tr s Pz'operly :' "';e l signed the >_oan
Dc»ct inenis. n permissible ;hatg=z: vn,\i.ij be a. iy trai star tha th lender %s r ired by law to ailovv,
such as ~ transfer to add or ren'io-,-=e a family mt n'zlJer spouse or "ornestic panter or' the undersigned
in the event ot a death, divorce or maniage;

D l have provided documentation for alt income th at l ret eive (ar‘d t understand inst l am not required to

disclose .';hild support or alimony unless chose to rel on suc-"i tr tome when "szeuesting to quality tor

the t'tome Affordahle Nlodi'iication prog'am i“Program" ):

Undet penalty of perjury, all documents and in-fi irrnati.)n l havz p=')vided to tender in connection with

this x'-\gn=.\ement. including fha do-::irne=t"s and ir forma'ion regz rdi\`g mv eligibility for the Pregram_ are

tree land .r.orrenl

 
  
 

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f lt _e de ¢‘eqi.»"-:‘S he t\;- o-')t;ii.‘i -,; li: if:_=o.se`i'"ii' in -_:o ‘actiot »vi< the nrc-ora ' vvi.‘l cio sci and
": l"a. a .y' mata :-*ll:e t "#‘t.i‘:”§ii l"t`e" z iri€l 3 i T' -t l ' :tl-i"iz"i_;;t+ F-‘a”_

" lt more ',n.'in one B-:ito\.-vr';:' or i”vlertg:-igor is executing nn., inc '= document stores sicii“-lfyil`§l

|"‘e singular 'sucl' ns ‘l'l st tall iiv_“.ii_:r_le the penal stich as ‘e'l t :: v =

litt,iL`TlS l_" '. "E H '.>?" §' 5` -' -'J';U,I '.i`?ili.?. Ntl§!: ;t" A ="i(` `;YE § 4"5\-| :'Z:iF\’!\"` Tl‘!.:"'.r'?t.*~ii‘il\"`

 

i`.;‘ierr'ed 1?-" ‘.-,“i[_‘z' t 1:-`.‘ l isn 'f

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Acl<nowledgements and F*recornditions to Modific rtionr § under ;:e *- ard acl-ante edge that

ii .

lf prior to the l\flodincation Etfective Date as set forth 1 Sectic,;-n the tender i_:t-a‘:errnines that any or
n"~§ .’ pre.- ._ientatl)ns in Sec:` rcn l = nn longer t ue ar l correri` o any :ovenal‘§' iri S€ection t has not
bean pe erei_i, the l_oan Coc.ir: ant s \.i;rl riot be n or led an= tr - Af.;"eer'ar;'. ..i:i'l ier"ninaie ir- that
even tlii-. tender ivill havel all r'.:'l '-…-~: rig t :' z and r 'n'reoi ;» pr"i‘ivi-. ariz ii' i-. t,, ,;1 ':1;.uif"ic~ntsj laird

 

  

l ii irlr-ers:§.;- nd that t`ne l_cah E-ocur: nts \-\‘=ll not b -z n'zoi: tied uni est- incl .inti‘ ri_- tender ac:epls this
Agreerne'rt by signing and return ng z copy of =t to i e§ and .ir; ne i=.-"iodi.‘ica: on Ettective Date §'as

defined i' Section ;3) has r)ci;u-'z;_>d_ fu=thei uncle stand E‘~d igre*:- tht‘t l_ander will act be
on ig ‘rterl or bound to male ar.v niodi_ic:itir_iri o* the t ran Doi '.:r.'i his - l tail - _neet any :-r"e cf the

requireerrr nteu-under this Aoreernen l

The Nlodification. if my representations and cove‘rants n Sectitin continue to se true in all material
respects and all preconditions to the mi:)dir'icalion set °'thh in Se<:tion 2 have been rnet, the l_oan
Documents will automatically become 'nooified on l\-§oven:ber 1, .'.O'ii? (the “l\flodif?cation Effective Date"}
and all unpaid late charges that reinarn unpaid will lie war red i rnd:-_=rstai#d that ='; i have far|ed to make
any payr“-iente;; as a precondition to r“:s rtodrficat-;)n urder a \.-iorl».)ut plan or "r‘ial period alan this
modification will not i;alte effect `l'he lirst m J:l:fied pa ymenr will be true ..)n l’~iovernber 'l, 2015.

n The aviaturity Date wirl be: Octoeer ‘l, 2'335.

B The modified principal balance or r ny l\l)_ e will in :lude lamou its -.nd arrearages that will be past due

as or' the Nlodification Eftective ;`late {inc lurling inpaic and de-feried interest fees, escrow advances
and other costs but excluding unpaid late charges c:)i|ective-y, i,npaid Amounts) less any amounts
paid to the Lender but not previously credited tc rny l_.'.'»an . The new principat balance of my Note will
be $377,956.43 (the "New Principat Balance”). l he New Principal iBalance will consist of two (2} parts
(i) an amount which will accrue interest at the l\ote rate shown below and on my monthly statement
as interest Bearing Principal Bainnce and (-i} ar= amor.r;‘= whicl w v not accrue sterest, shown below
and on n'iy monthly statement as E§eler'ed princi )a| Ba ance.

  

 

 

 

 

 

'A` $‘|_.9(36.43 of the l\lew Prihcioai B;'iienc.e shall blr deferred (thr\ D-=zferred Princi;;:al Ba|ance} and l will
net pay interest or make morrth.r Jayrients cr this amoun= T ;-:- i‘iew .=`Jrin ;rpai Balance less the
Defe rec Princr_aal Balance stall tie referred tr as t':s |nterl-:st tearing ll‘rir§ :nal Balance and this
amount '.i $375,050.00 lr‘teres “_h ate of 5.375 §§ Will ‘£)*:giE to eccr’.re ii'\ the interest Bearing
F'i‘nr_lpa'. Balance as of D:tober ;, 2i_.- and t:ie tire new m_)ni ly payment “' the interesi Bearing
F‘r:ni;ipai Balance will be cue on l'~lov-zn'tber dt 'l, 2015 lilly cayi ‘ent scheduli: li"or :he modified l_oan
is as follows:

_ § _,,a - ._r__ __W ,, -__ __ ____ _
`/ears l lnterest §lnterest § lfilont |/ l Es irnate:i §_ otei § Pavment Number of
i l:tate Rate § i"rncina l\rlc nthly § 'rlo‘.-;hly i Bepins |Vlonthly
§ Change § and § Es crow § *a‘;.:ner-t" ` Ci-' Payn'rents
Da='e ` § D€ rf='l€"*=` § § §
§ § § .-`\r` rrJLrl"l§I § §
' ii 1 " f t
_ _ n ‘;, ;c§r § i-: _n~ §
§ ' § §JF' :Cr§i_‘, ' §" § rel di l §

§ lireisrittl?se-.

!`-ter`erred -:-§,-§r;

OBO'lB

,,,w_____.__ l_ ____ ca l §haw cl

_'.Si ii na| balloon payment on the inter est nut wiring F rincir: a Balarr»":€- )f 524_0_ .‘25 l ss dire on the §

" '-":':_fl-I=\i";; ,-`-': `T-'*?i[, §.:3,"`: -\l'|[)?_f'j"'§l`£°`§l`,"§ =":§ § ' '. 5' 7 3 i':i l =:‘~ r_‘?"' i"‘€-! ;tr‘:;‘ -.\U`;‘l' .'l ` "-‘|:'\'.‘»l"§\ll §i`\i'?":!t}l‘ri'?i\i"`

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tll' lE`T|S `

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`l"ne listened Pi'incipal Ba|ani:e of $1,9(!6.43 less any t i_~: erred ;'r?
which l am entitled will be due as a balloon payment on i,iie earler.
Pr:iicipa| Elaiance, transfer of the propett‘.f Or on tl le lVlo¢ ll`ried lvl;;.itur
Ser:tiiiri ? 3 shall supersece any ;::'ovi:-':iniis lo th a cont a 'y in tt a l
limitei: to ;irovis ocs r'or an adiusta'i)le i__r rated int rest i'

;‘ipai Rei';lui: .i_=ii .ernc-unt to

f, payoff of the interest Bearing
y Date, The :il:ove terms in this
ian i"loctimt~"a: including but not

*Tl':e assf _va §:)a§n“‘ents nay be ai',‘itist- .»ii period :s-|i§' i acccrcan : -iv" 'i a:;,pli»_ _ii; law aan thereto-ia

my tc»al ':'onthiy payment may grande according ly

T|i-s .z'iboi.-s te"ns in this :`»ect:c=ii d C snell sc)erse` a any =i”o alcoa to th- sanitary in the loan
Do:ui'ne‘i"s§ including but riot lii'ni:,erl tc J=o\iisioi s for n ad§us' ab § _ srs-3 o=' str' z,iia interest inter

l i,nderstand that if | have a pay cption adjistahl-'e rate r-iort_qage loan, Lip:on modification the
minimum monthly paymer-t option the ii'iterest-Jn|y i;v any olne-' payment options will no longer be
offered and that the monthly paymen:s descrited in tt-e abc ve ')ayirent scriacule r'or my modified
loan will oe the minimum oayrnen: tha»l '.vili tie d. ie ear ‘i month toi the remaining :erm of the :_oari. lvly
modii"'-ed l"oan will not have a negative amortize lion feature that "\ou!o' allow rio to day less than the
interest rii_ie resulting in any unpaid intr rest to be acids-l o the iut.‘ ending prior cal balance

| will be in default if | do riot comply with the terms of the Lo'-_zn Docun'ieri';-;-i. as modified by this
Ai_;§reernerit_

lf a default rate of interest is pern'iitter_ winder th z L-oas ijocurren‘:' § then in the e'.'ent.of detau|t under
the Loan Documerits, as amendec the interest t 1rat will he due \.vi!i be e rate sat forth in Section E.C_

l agree to pay in full the Deferred F’rincipal Balence less any l`lefi:==rred Principa| Reduction Amount to
which l am entitled and any other amounts still iwed under the l.nan Documents by the earliest of: (i)
the date l sell or transfer an interest in the Piaperty i`ii) the dee l clay the entire interest Bearing
Princ`ipal Balance§ or (iiil the l\/laturity |:`late

|f l make a partial prepayment of lf"'inci 'Jai§ the l_» inder hay app-y t'.at partial prepayment firsth any
Defe 'rei:‘ D:'incipai Balance before app`y'i‘:§; suc|“ partial nre_r)ay'ne" t to other aijr iiiirits due

L\dditional ltgreen‘ients. l agree to `-i'i~;i tolls-ying

‘-\.

_D'.l

'e § i-; `-i‘.'s'i ~.-;*L,-;i\riit-@';is-i':.ir'-',i' ~ir.l l

Ttial_ all persons ivho signed the l.oari t`.loi';uml ints o rneir airtn='izeo repres-;:_\iitative{s) have signed
th..s il.greerne'it unless {i`i a borrower r;ii' co-`oo tower is deceaseil; (iil the bo'“ower and co~-borrower
are divorced and the property has been transferred t : one spouse in the divorce decree the spouse
who no onger has an interest in the property n led nrt sign tris i~-‘lgreement (a|tr~ough the non-signing
spouse may continue to be held iiaole for the ot ligatic-i under _he _oan Docun"iants); or (iii) the l_ender
has waived this requirement in writing

Tha': this ngreement shall supersede t e terms ot an = 'noclitir ati ;ri, to‘bearar-.:e, Triat Period Plan or
c-the \/'\,'-“rl<ool Dlan thatl areviou-€|‘ " with .:-nder

 

                  

  

     

 

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a ‘r .-'i':\ ` c '_ ta i- :icl:r"'§ "i\ 11§,1,~-: ei"-“---i“-; n: " t sii;\iin~-'_' s \i
t - ii r' ` l iii l

ji §i 'i . 1

Fri‘rii;ls E:i.’ 551 '.t‘Z-W items 'i '§ §; l tl'-E j.zi §§ -';_.r-;:- .`:i’“jei' t!':r;\ ..i';=';n
[ji;)r;iirn-;' 3 .,_: amended 'r_;\..' "'r`:i "-l t 9 L-'llEll`i § -Bii"i` _.li, it.l"l the `;uhi'ltl'l 10
pi"-:)v de ior pi'iyment of arrio'.,inrs ‘-ie -::" la) ta; es ar t asses: rni its ei-id cttie. -eirs which can atta=li'i
pro-lay ;i'ier the ivlon:gaoe as a en ::.' lil:)ranre on t'r-a -"o e‘ty; "o)` -i;zasehold payments or

t ' . c . . ,, ..

 

. the l~’ropar-`:‘,r, F , ._ nn its in try air ,

' tlor.uments; i§d` mori§i;-'ji:: ii'z _;‘ani:e remit "=s iiar lt ‘c sons .:..'able to l_ei";ler in lieu

)‘ the o vinenr of mortgage insula'icr~i r 'emiun s in a:ci,irdarice i-- th the Loan ..'i-:..-cui'nents, and tel any
association cites la :*.'i; visser sinsi‘ -' that l. en 1sr requires _ lie escrowed these

laired lily tender wider

 

 

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j‘r":icin\ i H‘=!'

iii

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items ali cainer `§scrcw items ` shall promi: ;iy fur ~.in ic l t-r'
under this Section 4_D. l shall day _ender ti‘e l'-`ur is for Esc fw stems ur=ii_z.':.s tender waives rny
obligation to pay the Funds for any or all Escr )w |i'eins_ Le:ide‘ may waive ny obligation to pay to
i_ender funds for any or ali Escrc\rr items at an r time i\ny si=ch ‘~iiai\ie.r may on='r be in writing in the
e\eu: o such waiver, l stall pay cii'er:tir, when and here pa ya“ e, i!we an“:o=,,r;ris u_ie for any Escrow
items fc:' which payment of Furii:; cat :een wi ired i: . Leno`e"a 'i if jarm-der iui"es shati turner to
i_eni_*er ece:pts evidencing suit . peyi:ie'it w tnin iri ;i'i in a _ error as i_ .=iiei ri'.a\,-' require '\riy
Ctiiigaiio . 'io "nai;e such payrr-eim'- a-' t jo prin de re .:-:rpts si ali or ~:_i pi,“'or,.- .--;s tie deemed to -')e a
ct venanl_ and agreement cc-nta=r ir- lwe _oan i}ocu i:ents. a s i_ 3 pr ass c-t.-\_r.:-:-nanl and agreeriier=l"
is used iii the i_oan Docuinenis. l art obligai ed to ray Esc on tends direct!i pursuant to a waiver,
and - fai to pay tire amount due for ..iii Escroy |tern lender in r e:=rercise ir-; ‘igl"rts under the loan
Doc=_.me-z=";ts and this Agreemeni sr.d pay supt e-"noun- and l s=ia| her ne obiic vd to repay to tender
any suc'i amount i_ender may revoke _i'e waiv )r as t i any or all fiscrow items at any time by a notice
given in accordance with the i_oan D:)cuments and, upon such ‘e\rocation, i shall pay to i_ender all
Fiinns, and in such amounts that are ten i‘ec|u 'ed uimder this Se:‘ lion -'l,D,

no;.ce- .t C-i~iiounts to be paid

  
 

 

  
 

tender 'nay. at any time, coilect end fii)|d T-'uncs iri ar amourt to sufficient tc i')errni`t Lender to apply
the il'uii;s at the time specified under ina iReal Esi:ati- Settler=ieri Pror;edures rl-.i;t i"RESPA")` and il;))
not o e\<-':eed_ the maximum arro'.int a lender an require ur de RESPA_ i_e":u`er shall estimate time
arricunt ::rf Funds due on mine basis of :i”rent d; la ann z‘easor ai:r- estimates ;')i expenditures of future
Esciow items or otherwise in accordance with a Jp|ica: lie iaw,

`|'he Fi,:nds shall loe held in ar irs:itution whose deposits ire insured ny a federal agency,
instrumentality or entity iinciudinr_; her-tierl if i_e ider ir- an instituti¢, n whose deposits are so insured) or
in any i:'eder'a| Home l_oan Banl<, i_ercer shall apply he Funils go pay the Esi‘..row items no later than
the time specified under RESPA. Le.r'cer shai not charge ine i`or holding and applying the _Funds,
annually analyzing the escrow account or yerif'l ing the Escro\-r,r items unless tender pays me interest
on the i:unds and applicable law permits Len ier to make suc|"= a charge Un|ess an agreement is
made in writing or applicable law requires interest :o tie paid ..)n the Funds, i_ender shall not be
required to pay me any interest o" earnings on tie Fu€'ds. Leirde" and | can agree in Wréting, however,
that interest shall be paid on i"ie Fii"‘ds. tender shai! t"'oy-;le im"el withi;‘_it chargel an annual
accounting or' the Funds as required bi FfESP/~\

if there s a si.iro|i.rs of §:urrds heir in es;»ow` as definr~il undei RE-:`,F’.s Lei'=cfei shali account to me for
the excess funds in accordance witt F<`ESPA ii ii are is a st =riage of i:i:.-rris neiri in escrow as
cie-fired under RESPA` i_endei` s'rai| petty me as ret`i.=:red pi R'- SP¢\, and l -;nail pay to |_ender tree
aino,in?: ‘iecessary to make ip ie L'tc;-rtage 1 acc irjance wiii R:';'SPA, l: .:l; in no more than 12
mor:'n|y Jaynments. if the"e is a :‘ei£ci-zn-:;y oi F inns t aid in ec crrv as defines .inder i`\’ES'P.L\, l_ender
snail notify me as requires by REE§PA and l sh: iii pay ic Lender t‘"e ar:'_ount necessary to make up the
deficiency in accordance with RE'§PA_ nut in nc more "nan 12 nci'thiy payments

Upon payment in full of ali sun"s secured by tire L.oan \`}ocume its tender sha§= i:iiompt|y refund to me
any .:urids held by Lender.

       

      

 
   

Tha" the Loan l.")ocuments as Y:od=iie:i by ‘1is .A r-aer‘ner"t z e duly '.'.a|i"` binding agr'ec-;in'ientsl
erf~:\":e::a!e im nc':ordancr;> with tA t.=‘-r'm-'rs and ir'e he say rea `"Fir ed
`T ` -:: i _m.-.?-.n lllr:::, l arts m-,:i.r -JE: s f.--<J' z‘-r :"-‘oriifi'_-i:' `.';-\r
:.` : 7 ¢.ti_.__ ,`, `. .: *_'c ___l`, `l. ry ,_ i,, _i.‘ .i
s §tii"t')ri 'ziii
[i“ii§1 3 i' i,ir§i =;C- rp\y ry
Dnc:irnents
L`;i 'i'?'=a‘ az of `:i~.e i\ilodificalmor 'i':it\zitiis':anc'imr-§ ':iii-sii:=n of the L_o;_n
D'icir.'r-::mts_ r' sill or anyl o-.aim c‘ 1" - try ir e'est in fr § '--:~eci --:i'i:iioi,i' sanders
pro writ-ian consent `-ender i'_‘=_-'e‘¢ at ' y reiiiri- ‘~. imm-elia ‘- ~ il sums secired
t)'-i tire i'-.iort "‘_e, i_ender shall m.)t :)er:ise "i§s cr:-'ir~n if s atf o=' tedera' i :-‘ '-,les or regulations
prJE'i#;Jii‘_ -";ie _. . ;;se ot s,icii ::':; -' ' ;:-~; are .; ruc.mr s lie ir i."»ns*`em-.!' lender e)r_-iicise::z tim-is
-i.it,'i_rism- r¢.rs >i~i.i- '-r`er irr-iocri-':-;.¢rii'-~r .~11§'-_‘\ ' - &- i ' .r ~ 'f-\,~ l as e = l <if:i"¢ii-i :i»:~‘i'f:irrr:€"-'
”'T`i w 3 :‘3':` = 3 "[`»

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o;;)‘;lrj ', t lender shaii give roe nat-tice of ai_';eleiat cri m '< riotic ' -_ 'i`ii ii.ov:-,.c . ;i;~,i;id iii riot |955 than
30 d;iys irom the date the notice is delivered or ‘ fiaiiet; within vi nir: l ‘i \ist pay iii sums secured by the
l\/lortgage_ lt ‘ fail to pay these sums prior to ;he e:'- citation of i_iis period =-;-i:de: may invoke any
rei'nedie:-:. permitted by the l`\flortgage without fort ier cr 'ii"e or d err nd iii me

`l't‘ai. as rif the i`\llodificatioii Effeci.\.rs ti aid ` unc srs:ai '.' *`
asst 'iipii,ii: or the i_oai'_ i:'ici`ud:rig: ;'riis; .i-_qroe=n i‘-z; i: 21 `
the (Fari‘ .`St. cfje.rrnain Act` 12 LS_S`» ff`.` E““ticn 17 ]ij---E_ .'?f- `
perniittei‘: under any other r__:ir<:ii»ns' 'ce, -“.o ased
Agreement map not be assigned Ji assuniec by a :i

 

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arts eree o‘: _i`_~: i~"roperty rvill nct le
n_ §;<ceot is 'iotec hereiri_ iii r,-
' S;“'e 'ze of "h. :"r-;irei”y

   
  

Thal. as ot tree l\i’|odificatlo"i ci"*'"" tia'-ie, i any ii-J\i'isioi- ii' the No`re c. s any addendum or
amendn‘ant to the Note ailovved for ti s assess cent ii a pen;iit‘_ for "=i|l or pit ai prepayment of the
the sti;h provision is null and void

 

That, l iii:ll cooperate fully vvith tender in obtairing ar y title e idci'sement(s), ci similar title insurance
pi"-odi_icti:_:§, and/or subordination agreement(s that are necessary or rec'_;ired by the tenders
procedures to ensure that the modified mortgage ioar= is iri first lie i position ar-i:-'or is fully enforceable
upon modification and that itt uider any circ= insta= ca and nci viiitcstandir=i; anything eise to the
contrar‘-,.l in this Agreeniei'it, the ';\_encs.r does iot re eive such itle endorse "-ent(s`i. title insurance
prodi.ictis) andior subordination agreement(s)` then the `=_eri'is rif this Agreerient Will not become
eiiective on the i\/|odit'ication Erfec::i\ie iliate and ne Ag 'een'ieni vvil be null and -:;iid_

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